Case 1:13-cv-01053-RCL Document 255 Filed 11/04/22 Page 1 of 2

Lauren Jenkins

From: Hamish Hume <hhume@BSFLLP.com>

Sent: Friday, November 4, 2022 2:57 PM

To: Lauren Jenkins; Hoffman, lan S.

Ce: Varma, Asim; Stern, Jonathan L.; Bergman, David B.; Jones, Stanton; Eric Zagar; Lee Ruby;
Grant Goodhart; Samuel Kaplan; Kenya K. Davis; Rich Gluck; Robert Kravetz

Subject: RE: In re Fannie/Freddie -- Response to note re deposition videos and transcripts

CAUTION - EXTERNAL:

Ms. Jenkins:

Pasted below is Plaintiffs’ proposed response for the Court to provide the jury in response to the note from 11:54 am
today:

The Court is in receipt of your note from 11:54 am. Before answering it, the Court wishes to make clear that if you wish
to request specific testimony from the trial, your ability to do so is the same for testimony given live in trial and that
which was given by deposition, whether the deposition was by video or by reading at trial. But in addition, the Court
wishes to make clear that in general, each juror should rely on her recollection of the testimony (and her notes, which
should only be used by that juror who took the notes, not by others). The Court is therefore not going to provide all of
the video testimony and transcriptions of depositions as requested, and also is not inclined to provide a full trial
transcript of both depositions and live testimony. If at any point you wish to request any specific testimony, please
notify the Court and the Court will then consider that request.

Thank you, hee ty,’ le ;
Hamish “Done . Rarer, u$OQ “lp laa

Hamish PM Hume
Partner

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From: Lauren Jenkins <Lauren_Jenkins@dcd.uscourts.gov>
Sent: Friday, November 4, 2022 2:54 PM
To: Hoffman, lan S. <lan.Hoffman@arnoldporter.com>
Cc: Varma, Asim <Asim.Varma@arnoldporter.com>; Stern, Jonathan L. <Jonathan.Stern@arnoldporter.com>; Bergman,
David B. <David.Bergman@arnoldporter.com>; Jones, Stanton <Stanton.Jones@arnoldporter.com>; Hamish Hume
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Lauren Jenkins

From: Hoffman, lan S. <lan.Hoffman@arnoldporter.com>

Sent: Friday, November 4, 2022 2:49 PM

To: Lauren Jenkins

Cc: Varma, Asim; Stern, Jonathan L; Bergman, David B.; Jones, Stanton; hhume@bsfllp.com;

Eric Zagar; Irudy@ktmc.com; Grant Goodhart; skaplan@bsfllp.com; Kenya K. Davis; Rich
Gluck; Robert Kravetz
Subject: In re Fannie/Freddie -- Response to note re deposition videos and transcripts

CAUTION - EXTERNAL:

Ms. Jenkins -- Below is the proposed response to the jury’s note this afternoon regarding deposition videos and
transcripts. This has been shared with Plaintiffs (copied here) and they have indicated that they consent to it.

PROPOSED RESPONSE:
| will not be providing you with the video deposition testimony or with the transcripts of the depositions. Rather, you
should rely on your memory of the testimony.

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Partner | Bio
le-gp . “ Inder

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